Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 1 of 12 PageID #: 35




                                            USDC No. 1:19cv201-DMB-RP
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 2 of 12 PageID #: 36
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 3 of 12 PageID #: 37
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 4 of 12 PageID #: 38
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 5 of 12 PageID #: 39
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 6 of 12 PageID #: 40
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 7 of 12 PageID #: 41
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 8 of 12 PageID #: 42
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 9 of 12 PageID #: 43
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 10 of 12 PageID #: 44
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 11 of 12 PageID #: 45
Case: 1:19-cv-00201-DMB-DAS Doc #: 2 Filed: 11/18/19 12 of 12 PageID #: 46
